Case 2:23-cv-21705-KSH-LDW           Document 29        Filed 11/26/24     Page 1 of 1 PageID: 103

                G O D D A R D                      L A W             P L L C
                         39 Broadway, Suite 1540  New York, NY 10006
                                        Office. 646.964.1178
                                          Fax. 212.208.2914
                                   Megan@goddardlawnyc.com
                                   WWW.GODDARDLAWNYC.COM


                                                       November 26, 2024
  VIA ECF
  The Honorable Magistrate Judge Lena D. Wettre
  United States District Court
  District of New Jersey
  50 Walnut St.
  Newark, NJ 07102

                Re:     Pietrocola v. Chelsea Senior Living, et al.
                        Case No.: 2:23-cv-21705-KSH-LDW

  Dear Judge Wettre:

          This firm represents Plaintiff Kathleen Pietrocola (“Plaintiff”) in the above-referenced
  matter. Plaintiff respectfully submits this status letter in accordance with the Court’s Order of
  September 9th, 2024.

        Plaintiff’s deposition took place on October 21, 2024. The depositions for Defendants Scott
  Yaeger, Kathleen Merkel and Roger Bernier have been scheduled for the first two weeks of
  December. Parties are working to schedule the depositions for the remaining Defendants.

         We thank the Court for its time and attention to this matter.

                                                       Respectfully submitted,

                                                       GODDARD LAW PLLC
                                                       Attorneys for Plaintiff

                                                       By: Megan S. Goddard
                                                           Megan S. Goddard, Esq.
                                                           [Pro Hac Vice]

                                                       By: Nathaniel K. Charny
                                                           Nathaniel K. Charny, Esq.


  cc: All Counsel of Record [Via ECF]
